Case: 4:23-cv-00075-AGF               Doc. #: 23      Filed: 11/08/23      Page: 1 of 2 PageID #: 66

                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

 WILLIAM SALBECK,
                                                                   Case No. 4:23-cv-00075-AGF
       Plaintiff,

 vs.

 CALARES, INC. d/b/a FAMOUS
 FOOTWEAR,

   Defendant.

_____________________________________/

                    PLAINTIFF’S NOTICE OF DISMISSAL WITH PREJUDICE

           Plaintiff, William Salbeck, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), does

hereby dismiss this action as follows:

           1.       All claims of the Plaintiff, William Salbeck, individually, are hereby dismissed with

prejudice.

           2.       All claims of any unnamed member of the alleged class are hereby dismissed

without prejudice.



Date: November 7, 2023

Respectfully Submitted,

Shamis & Gentile, P.A.
/s/ Andrew J. Shamis
Andrew J. Shamis, Esq.
Florida Bar No. 101754
ashamis@shamisgentile.com
14 NE 1st Avenue, Suite 705
Miami, FL 33132
Telephone: 305-479-2299
Case: 4:23-cv-00075-AGF          Doc. #: 23     Filed: 11/08/23        Page: 2 of 2 PageID #: 67

Counsel for Plaintiff


                                    CERTIFICATE OF SERVICE

         I hereby certify that on November 7, 2023, I electronically filed the foregoing document
  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
  served this day on all counsel identified below via transmission of Notices of Electronic Filing
  generated by CM/ECF or in some other authorized manner.

  Respectfully submitted,
                                               SHAMIS & GENTILE, P.A.
                                               14 NE 1st Ave., Suite 705
                                               Miami, FL 33132
                                               Telephone (305) 479-2299
                                               Facsimile (786) 623-0915
                                               Email: efilings@sflinjuryattorneys.com

                                       By:      /s/ Andrew J. Shamis
                                                Andrew J. Shamis, Esq.
                                                Florida Bar # 101754


                                               Counsel for Plaintiff
